 Case: 5:05-cr-00131-JG Doc #: 880 Filed: 07/17/06 1 of 2. PageID #: 2723




IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




 ------------------------------------------------    :
 UNITED STATES OF AMERICA                            :
                                                     : CASE NO. 5:05 CR 131
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     :
 WILLIAM DAVIS, III                                  : ORDER ACCEPTING PLEA AGREEMENT
                                                     : AND JUDGMENT AND NOTICE OF
                                      Defendant      : HEARING
 ------------------------------------------------    :

UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge William H. Baughman, Jr. regarding the change of plea hearing

and plea agreement of William Davis, III which was referred to the Magistrate Judge

with the consent of the parties.

       On 16 March 2005, the government filed a one-count indictment against William

Davis, III for conspiracy to possess with the intent to distribute and distribution of a

controlled substance in violation of 21 U.S.C. § 846. On 14 April 2005, a hearing was

held in which William Davis, III entered a plea of not guilty before Magistrate Judge

Patricia A. Hemann. On 22 May 2006, Magistrate Judge Baughman received William

Davis, III’s plea of guilty and issued a Report and Recommendation (“R&R”) concerning

whether the plea should be accepted and a finding of guilty entered.
 Case: 5:05-cr-00131-JG Doc #: 880 Filed: 07/17/06 2 of 2. PageID #: 2724




       Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

       On de novo review of the record, the Magistrate Judge's R&R is adopted.

William Davis, III is found to be competent to enter a plea. He understands his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

       Therefore, William Davis, III is adjudged guilty of Count One, in violation of 21

U.S.C. § 846.



       Sentencing will be:



                       28 August 2006 at 11:00 a.m.

                       Courtroom 18-A
                       18th Floor the United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113




       IT IS SO ORDERED.


                                          /s/Lesley Wells
                                          UNITED STATES DISTRICT JUDGE

Dated: 17 July 2006




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